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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                     )
In re:                               )
                                     ) Chapter 11
                                   1
HIGHLAND CAPITAL MANAGEMENT, L.P.,   )
                                     ) Case No. 19-34054 (SGJ)
                 Debtor.             )
                                     )
                                     )
                                     )
HIGHLAND CAPITAL MANAGEMENT, L.P.,   )
                                     )
                Plaintiff,           )
                                     )
vs.                                  ) Case No: 3:21-cv-00881-X
                                     )
HIGHLAND CAPITAL MANAGEMENT FUND )
ADVISORS, L.P.,                      )
                                     )
                Defendant,           )
                                     )

                                      CERTIFICATE OF SERVICE

      I, Vincent Trang, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 5, 2021, at my direction and under my supervision, employees of KCC caused
the following document to be served via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

    •    Plaintiff's Reply to Defendant's Limited Objection to Report and Recommendation
         of the Bankruptcy Court Relating to Defendant's Motion to Withdraw the
         Reference [Docket No. 9]

Dated: August 6, 2021                                     /s/ Vincent Trang
                                                          Vincent Trang
                                                          KCC
                                                          222 N Pacific Coast Highway, Suite 300
                                                          El Segundo, CA 90245

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                          EXHIBIT A
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                                                                Exhibit A
                                                         Civil Action Service List
                                                        Served via Electronic Mail

            Description                    CreditorName               CreditorNoticeName                          Email
 Financial Advisor to Official
 Committee of Unsecured                                          Earnestiena Cheng, Daniel H      Earnestiena.Cheng@fticonsulting.com;
 Creditors                          FTI Consulting               O'Brien                          Daniel.H.O'Brien@fticonsulting.com
                                                                 Melissa S. Hayward, Zachery Z.   MHayward@HaywardFirm.com;
 Counsel for the Debtor             Hayward & Associates PLLC    Annable                          ZAnnable@HaywardFirm.com

 Counsel for Highland Capital
 Management Fund Advisors, L.P.,
 NexPoint Advisors, L.P., Highland
 Income Fund, NexPoint Strategic
 Opportunities Fund and NexPoint Munsch Hardt Kopf & Harr,       Davor Rukavina, Esq., Julian P. drukavina@munsch.com;
 Capital Inc.                      P.C.                          Vasek, Esq.                     jvasek@munsch.com
                                                                                                 jpomerantz@pszjlaw.com;
                                                                 Jeffrey N. Pomerantz, Robert J. rfeinstein@pszjlaw.com;
                                   Pachulski Stang Ziehl & Jones Feinstein, John A. Morris,      jmorris@pszjlaw.com;
 Counsel for the Debtor            LLP                           Gregory V. Demo                 gdemo@pszjlaw.com
                                   Pachulski Stang Ziehl & Jones
 Counsel for the Debtor            LLP                           Judith Elkin                    jelkin@pszjlaw.com
                                                                                                 mclemente@sidley.com;
                                                                 Matthew Clemente, Alyssa        alyssa.russell@sidley.com;
 Counsel for Official Committee of                               Russell, Elliot A. Bromagen,    ebromagen@sidley.com;
 Unsecured Creditors               Sidley Austin LLP             Dennis M. Twomey                dtwomey@sidley.com
                                                                                                 preid@sidley.com;
                                                                 Penny P. Reid, Paige Holden     pmontgomery@sidley.com;
 Counsel for Official Committee of                               Montgomery, Juliana Hoffman, jhoffman@sidley.com;
 Unsecured Creditors               Sidley Austin LLP             Chandler M. Rognes              crognes@sidley.com




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                          EXHIBIT B
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                                                                                    Exhibit B
                                                                             Civil Action Service List
                                                                            Served via First Class Mail

                 Description                           CreditorName                   CreditorNoticeName          Address1             Address2          City   State    Zip
Counsel for Highland Capital Management
Fund Advisors, L.P., NexPoint Advisors, L.P.,
Highland Income Fund, NexPoint Strategic        Munsch Hardt Kopf & Harr,       Davor Rukavina, Esq., Julian P.
Opportunities Fund and NexPoint Capital Inc.    P.C.                            Vasek, Esq.                     3800 Ross Tower   500 N. Akard Street   Dallas TX       75202




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